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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                )
KENDRICK DAVIS,                                 )
                                                )
      Plaintiff,                                )
                                                )       Case No.: WDQ12CV0143
v.                                              )
                                                )
THE CBE GROUP, INC.                             )
                                                )
      Defendant.                                )
                                                )

                                   NOTICE OF SETTLEMENT

        PLEASE BE ADVISED that the above-named Plaintiff and Defendant have preliminarily

settled this civil action on all issues. The Parties will file a Stipulation of Dismissal as soon as the

settlement is completed, which they anticipate will take approximately thirty (30) days. In the

interim, Defendant with Plaintiff’s consent, hereby respectfully requests that this Court enter an

Order pursuant to Local Rule 111.

Respectfully submitted this 5th day of April, 2012.

                                           THE LAW OFFICES OF RONALD S. CANTER, LLC


                                           /s/ Birgit Dachtera Stuart
                                           Birgit Dachtera Stuart, Esquire
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                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing was

served upon the individual(s) listed below by E-Mail and First Class Mail on this 5th day of

April, 2012:

                                      Kendrick Davis
                                      8135 Scotts Level Road
                                      Pikesville, Maryland 21208
                                      E-Mail: Kcdavis530@gmail.com
                                      Plaintiff, pro se



                                      /s/ Birgit Dachtera Stuart
                                      Birgit Dachtera Stuart, Esquire
                                      Attorney for Defendant The CBE Group, Inc.




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